Case 4:04-cr-40039-JPG   Document 463 Filed 05/23/06   Page 1 of 6   Page ID
                                   #868
Case 4:04-cr-40039-JPG   Document 463 Filed 05/23/06   Page 2 of 6   Page ID
                                   #869
Case 4:04-cr-40039-JPG   Document 463 Filed 05/23/06   Page 3 of 6   Page ID
                                   #870
Case 4:04-cr-40039-JPG   Document 463 Filed 05/23/06   Page 4 of 6   Page ID
                                   #871
Case 4:04-cr-40039-JPG   Document 463 Filed 05/23/06   Page 5 of 6   Page ID
                                   #872
Case 4:04-cr-40039-JPG   Document 463 Filed 05/23/06   Page 6 of 6   Page ID
                                   #873
